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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


   FREEDOM FROM RELIGION                              )
   FOUNDATION, INC.,                                  )
   STEVE KRISTOFF,                                    )
   RENANA GROSS,                                      )
                                                      )      No. 1:14-cv-02047-TWP-DML
                                 Plaintiffs,          )
                                                      )
                        vs.                           )
                                                      )
   FRANKLIN COUNTY, INDIANA,                          )
                                                      )
                                 Defendant.           )

                  Order Granting Motion to Appear Pro Hac Vice
        This case is before the court on the motion for Rebecca Markert to appear Pro Hac Vice

 on behalf of plaintiffs, Freedom from Religion Foundation, Steve Kristoff, and Renana Gross.

 Having considered the motion, the court determines it should be granted. Therefore, Rebecca

 Markert is granted leave to appear pro hac vice in this case on behalf of the plaintiffs. The court

 FURTHER ORDERS that Rebecca Markert register as a user of the court’s electronic case filing

 system by January 30, 2015. Failure to register could result in the revocation of her admission

 pro hac vice.

        So ORDERED.


        Date: January 15, 2015
                                                    ____________________________________
                                                       Debra McVicker Lynch
                                                       United States Magistrate Judge
                                                       Southern District of Indiana
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 Distribution:

 All ECF-registered counsel of record via email generated by the court’s ECF system

 Service via first-class U.S. Mail on:

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